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sUPREME coURT COUNTY 0F M0NR0E
JOSEPH J. ARIENO,
Plaintiff,
V, N0TICE 0F FILING 0F
N0TICE 0F REMovAL
THE cOUNTY 0F MONROE and
THE MONROE COUNTY SHERIFF’$ lnd@>< NO-f E2018000957
DEPARTMENT,
Defendants.

 

 

PLEASE TAKE NOTICE, that Defendants the County of Monroe and the Monroe
County Sheriff`s Department [“County Defendants”] filed a Notice of Removal, a copy of Which
is attached, in the Office Of the Clerk of the United States District Court for the Western District
ofNeW York on July 11, 2018.

PLEASE TAKE FURTHER NOTICE, that County Defendants in the above-entitled
action filed a copy of this Notice of Filing of Notice of Removal and the attached Notice of
Removal with the Clerk of the Supreme Court Of the State of New York for the County of
Monroe, pursuant to 28 U.S.C. §1446(d).

MICHAEL E. DAVIS, MONROE COUNTY ATTORNEY
Attorneyfor Monroe Coumy

s/Adam MClark
July 11, 2018

 

Adam M. Clark, Esq. of Counsel

Deputy County Attorney

307 County Off`lce Building

39 West Main Street, Rochester, New York 14614
Telephone: 585.753.1374

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To: Monroe County Clerk
Clerk ofthe Supreme Court of the State ofNew York, Monroe Counly
101 County Ofi`lce Building
39 W. Main Street
Rochester, New York 14614

 

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